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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02414-MSK-MEH

  JARED MCGREGOR,

         Plaintiff,

  v.

  CREDITORS FINANCIAL GROUP, LLC,

         Defendant.


                                        MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on November 2, 2010.

         In light of the notice of settlement in this matter, the Scheduling Conference set for
  December 27, 2010, at 9:30 a.m. is vacated. The parties shall file dismissal papers with the Court
  on or before November 22, 2010.
